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                         EXHIBIT ~         ···
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             IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 Civil Division
                                               - -- -· ·-·- ··-----·- ·-· --- •·-·- ----- -··-··- - - - -- -- --- .
Erin Smith, et al                             *

                         Plaintiff            *

Vs.                                            *     Case No:_l:21-CV-2170
                                                     Judge
David Walls Kaufman                            *

                         Defendant             *
 *       *       *       *      *      *       *                *               *               *                     *       *        *

     DEFENDANT KAUFMAN'S ANSWERS TO PLAINTIFF'S INTERROGATORIES

1. State your name, address, date of birth and occupation.

        ANSWER: Dr. David Walls-Kaufman, 2302 Halls Grove Road, Gambrills l\1D 21054

        Date of Birth: October 26, 1956. Occupation: Doctor of Chiropractic (temporarily

        retired), author, and T'ai Chi instructor.

2. Give the names and addresses of all persons known tQ the defendant or your agents/and or

     attorneys who were eyewitnesses to the incident outlined in the Amended Complaint and

     state the location of each eyewitness at the time of the incident as it is known to you or your

     attorney.

        ANSWER: Defendant objects to this interrogatory on the grounds that it is vague,

        ambiguous, overly broad, and unduly burdensome. Without waiving the

      .. foregoing ..objections .and subject.. to them:. No incident . occurred between

        Defendant and Officer Smith. To the best of Defendant's knowledge, there are no

        known eyewitnesses involving Defendant that are relevant to the claims asserted

        in the Amended Complaint.




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3. State the name and addresses of all persons who were at or near the scene at the time o(

   the incident.

       ANSWER: Defendant objects to this interrogatory on the grounds that it is vague,

       ambiguous, overly broad, and unduly burdensome. Without waiving the

       fo-regoing objections and subject to them-: To the besn>f Defendant's knowledge,

       there were thousands of people at the Capitol that day. No incident occurred ,

       between Defendant and Officer Smith.

4. • State ,t he names and aq.dresses of all persons known to the defendant or your attorneys,

   who have knowledge of relevant facts pertaining to the incident described in the Amended

   Complaint or your answer thereto and state the substance of what each person has

   knowledge of.

       ANSWER: Defendant objects to this interrogatory on the grounds that it is overly

       broad, unduly burdensome, and vague, seeks for attorney-client privilege work

       product. Without waiving the foregoing objections and subject to them: To the best

       of Defendant's knowledge, there were thousands of people ~t the Capitol that day. No

       incident happened that day between the Defendant and Officer Smith.

        5. Give a concise statement of the facts as to how you contend that the incident

            described in the Am.ended Complaint took place, and include in your answer the

            date, time, and place of the incident.

       ANSWER: Defendant objects to this interrogatory on the grounds that it is-vague - •

       and ambiguous, overly broad, unduly burdensome and duplicative. Without                         ·,
       waiving the foregoing objections and subject to them: The Incident did not

       happen. I did not have an incident with Officer Smith.




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6. Please describe in complete detail the appearance of Jeffrey Smith immediately after the

   alleged occurrence, particularly with regard to the following:

a. The physical condition of Jeffrey Smith, that is, whether there were any obvious signs of

   physical injury.

b. The emotional or mental condition ofJeffrey Smith, that is, whether there were any obvious

   signs of mental or emotional disturbance.

       ANSWER: Defendant objects to this interrogatory on the grounds that it assumes

       facts •not in evidence, overly broad, unduly burdensome, and irrelevant to

       Defendant's knowledge. Without waiving the foregoing objections and subject to

       them:

               a) I have no personal knowledge of Jeffrey Smith's physical condition

                  immediately after any alleged occurrence, as I have never had direct

                  contact with him at any time in my life that I am aware of. No incident

                  occurred between Defendant and Officer Smith.

               b) I have no personal knowledge of Jeffrey Smith's emotional or mental

                  condition, either prior to or after the alleged incident, nor did I

                  observe any signs of mental or emotional disturbance at any time. No

                  incident occurred between Defendant and Officer Smith.

7. If you contend that Jeffrey Smith or anyone associated with Jeffrey Smith acted in such a

   manner as to start, escalate, cause, or contribute to the incident, give a concise statement of :

   facts upon which you rely.

       ANSWER: Defendant objects to this interrogatory on the grounds that it is vague, -

       ambiguous, assumes facts not in evidence and, irrelevant to Defendant's




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       knowledge. Without waiving the foregoing objections and subject to them: I have

       no personal knowledge of Jeffrey Smith's actions or of anyone associated with him in

       relation to the alleged incident. No Incident occurred between Defendant and Jeffrey

       Smith. It is my un_derstanding that ,Officer Smith took his own life.

8. - If you contend-that a person not a party to this lawsuit acted in such a manner so as to

   escalate or cause the incident, set forth the name and address of each such person and give

   a concise statement of facts upon which you rely.

       ANSWER: Defendant objects to this interrogatory on the grounds ·that it is vague, •

       ambiguous, and assumes facts not in evidence, is overly broad and, irrelevant.

       Without waiving the foregoing objections and subject to them: Defendant denies that

       any such incident occurred between Defendant and Officer Smith as described in the

       Amended Complaint. If an incident occurred against Officer Smith it was carried out

       by some other person.

9. State the names and addresses of all expert witnesses that you intend to call at trial, and

   with respect to each such expert witness, attach to your answers a copy of any reports

   prepared by such expert witness.

       ANSWER: Defendant objects to this interrogatory to the extent that it is overly broad

       and unduly burdensome. Without waiving the foregoing objections, The Responding

       Party has not identified any expert witnesses. The Responding Party will, call at trial
                 I

      • all treating physicians of Officer Smith; including but not limited to, the emergency

       physicians who treated Officer Smith and the physician who pronounced Officer

       Smith deceased, any therapists, psychiatrists who were treating Officer Smith, as well

       as all experts retained by the Plaintiff.




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10. If any expert witness made any oral reports or statements to the defendant or defendant's

   attorney's, state the substance of any such report and the date upon which it was given.

       ANSWER: The Responding Party has not identified any Expert Witnesses. All

       oral ~eports or statements of expert witnesses are in the possession of the Plaintiff

      •as the Plaintiff has· Officer Smith's Treatment Records, Death Certificate, and all

       of the expert reports that Plaintiff has identified.

11. State the names and addresses of all individuals who assisted the defendant in your

   participation of the·events on January 6th , 2021, leading up to the incident.

       ANSWER: Defendant objects to this interrogatory on the grounds that it assumes

       facts not in evidence, vague, overly broad, andI potentially misleading. Without

       waiving the foregoing objections and subject to them: Defendant was not a

       "participant" in the events of January 6th, 2021, as suggested by the phrasing of

       this question. I was present at the U.S. Capitol in the capacity of an observer,

       consistent   with    my    ongoing       research   and   studies    in     human    ethics,

       neurophysiology of morality, and socialization, as well as my work_as an author.

       I had no assistance in relation to the events in question. No incident occurred

       between Defendant and Officer Smith.



12. State the names and addresses of any individuals who assisted or helped the defendant in

- -the time following the alleged incident. •

       ANSWER: Defendant objects_to this interrogatory to the extent that it is vague and

       ambiguous, overly broad, potentially seeking information not relevant to the issues at

       hand and not reasonably calculated to lead to the discovery of admissible evidence.




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       Without waiving the foregoing objections and subject to them: No incident occurred

       between Defendant and Officer Smith. Any communications or assistance I may have

       received were limited to legal advice from my attorneys, which is protected by

       attorney-client privilege.

13. State the location of and/or the names and addresses of the person(s) in possession of any
                                                                          I



   materials and/or objects procured in preparation for the events of January 6, 2021.

       ANSWER: Defendant objects to this interrogatory on the grounds that it is overly

       broad, vague, and ambiguous. Without waiving the foregoing objections and

       subject to them: Defendant did not procure any materials or objects in preparation

       for the events of January 6, 2021, and to the best of Defendant's knowledge, no such

       materials or objects exist in the Defendant's possession or in the possession of any

       third party.

14. At any time (before, during or after) the alleged occurrence did you or any agent of the

   defendant have any contact or conversation in any manner with Jeffrey Smith in regard to

   the alleged occurrence or any other subject?

       ANSWER: Defendant objects to this interrogatory to the extent that it is vague and

       ambiguous, overly broad, and seeks irrelevant information that is not likely to lead to

       the discovery of admissible evidence. Without waiving the for,egoing objections and

       subject to them: No contact or conversation occurred between Defendant, any agent

      •of the Defendant, and Jeffrey Smith regarding the alleged occurrence or any other

       matter. There was no reason for such communication to have taken place.

15. If you have knowledge of any pictures, photographs, sketches, diagrams, plats or pictorial

   or graphic representations of the scene of the incident referenced in the Amended




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   Complaint, please state the nature of the item( s) y~u have knowledge of, what the items

   purport to depict, the date and time each item was made, and the name and address of the

   present custodian of each such item.

      ANSWER: No Incident occurred between Defendant and Officer Smith. The

       Government has extensive video footage of the Capitol. I have pictures of the

       Capitol in my possession.

16. If you have knowledge of any video footage of the scene of the incident referenced in the

   Amended Complaint; please state the ·nature of the item( s) you have knowledge of, ·what

   the items purport to depict, the date and time each item was made, and the name and

   address of the present custodian of each such item.

       ANSWER: Defendant objects to this interrogatory to the extent that is overly

       broad and unduly burdensome, seeks information regarding equally available are

       already in possession of the Plaintiff. Without waiving the foregoing objections

       and subject to them:. No incident occurred between Defendant and Officer Smith

       Extensive video footage related to the events of January 6th, 2021 exist, all subject

       to a protective order and in the possession of United States Government.

      • Defendant cannot release the video footage without a Court Order or a Consent

       of the United States Government.

17. If you have in your control, or within your knowledge, any transcripts of testimony of any

   proceedings arising out of the incident described in the Amended Complaint, as to each

   such transcript of testimony, state the date, subject matt;er, name and address of any such

   person who recorded such testimony, and the name and address of the person or entity

   having control or possession of any such transcripts.




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      ANSWER: Defendant objects to this interrogatory to the extent that it seeks

      information protected by the attorney-client privilege and overly broad. Without
                                                                                         --------


      waiving the foregoing objections and subject to them: Defendant does not possess

       any transcripts of testimony specifically related to the incident described in the

       Amended Complaint. or allegations involved here.

18. If you are a registered user of Twitter ("X"), Facebook, Linkedln, Instagram, Snapchat,

   Four Square, Pinterest, My Space, Tumblr or any other form or manner of social media,

   internet forum, blog or social network, please provide the following information:

   usel'%1ame and/ or display as name.

       ANSWER: Defendant objects to this interrogatory on the grounds that it is overly

       broad and seeks information that is not reasonably calculated to lead to the discovery

       of admissible evidence. Without waiving the foregoing objections and subject to them:

       Defendant closed his Facebook account shortly after public allegations were made,

       which resulted in numerous death threats. As of the time of this response, Defendant

       no longer uses Facebook. Defendant Facebook Account name was David Walls

       Kaufman. Defendant believes his Twitter handle is "DavidTaiChi," though he rarely,

       if ever, uses the platform. Defendant also recalls a historicalMySpace account under

       the name "Land of Malls," though it has not been used for many years. Defendant

       does not actively use other social media platforms.

19. At the time·ofthe alleged incidentdid you or any other defendant or agent of the defendant ·

   have on your person any electronic devices, including but not limited to a cellular phone,

   video recorder, or body cam~ra, or any other device?

       ANSWER: Defendant objects to this interrogatory to the extent that it is overly




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      broad and seeks information that is irrelevant or not reasonably calculated to

      lead to the discovery of admissible evidence. Without waiving the foregoing

       objections and subject to them: At the time of the alleged incident, Defendant had

       a personal cellular phone on his person. No other electronic devices, such as a

     - video recorder, body camera, or similar devices, were present.

20. If the answer to the previous interrogatory was affirmative provide the details of such

   devices including the type of device, brand, owner of such device, and the person who is

   in current possession of any such devices.

       ANSWER: Defendant objects to this interrogatory to the extent that it seeks

       information that may be irrelevant or immaterial to the claims in this case,

       requests information outside Defendant's custody and control, to the extent that

       this interrogatory seeks information about devices confiscated by' the FBI.

       Without waiving the foregoing objections and subject to them: The device in

       question was an Apple iPhone, though I am uncertain of the specific model. This

       phone was confiscated by the FBI and has not been returned. Defendant does not

       have current possession or access to this device.

21. If the answer to interrogatory 19 was affirmative and included any cellular phones, please

   provide the phone number(s), the name of the carrier for each phone, and the name of the

   person who is the account holder of the phone, the account number for the phone.

      • ANSWER: · Defendant objects to this interrogatory to · the extent that it seeks

       information th~t is overly broad, irrelevant, and not reasonably calculated to lead to

       the discovery of admissible evidence. Without waiving the foregoing objections and

       subject to them: The cellular phone in question was under AT&T service with the




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       number 202-547-3402. The account number is 418018786819.

22. If a cellular pho:o.e has been identified, please provide a copy of all data including, any text

   messages, emails, social media messages, photographs, videos, or any other type of digital

   media that relates to the alleged occurrence stored on cellular phones identified in question

       ANSWER: Defendant objects to this interrogatory to the extent that it is overly

       broad, unduly burdensome, and seeks information not relevant or proportional

       to the claims or defenses in this case, and seeks information beyond the

       Defendant's possession, custody, or control. Without waiving the foregoing

       objections and subject to them: The cellular phone in question, along with all text

       messages, photographs, and any other digital media stored on it, is currently in

       the possession of the FBI and was used as part of the investigation and prosecution

       in the related criminal case concerning parading and chanting. Defendant does

       not have access to or control over this phone or its contents at this time.

23. Please indicate whether any cellular phone, electronic device, photograph, video, text

   message, email, social media, or other digital media is no longer in existence. If the answer

    ls yes:

a. Describe the specific item, including a description of its content;

b. State in full and complete detail the reasons it is no longer in existence and the reason(s)

   why these items have been lost, deleted and/or destroye~.

       ANSWER: Defendant objects to this interrogatory -to the extent that it overly

       broad, unduly burdensome, and seeks information beyond the scope of relevance

       to the claims and defenses in this case. Without waiving the foregoing objections

       and subject to them: To the best of Defendant's knowledge, all materials are still




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                                                                                                                                                                                                                            I




                                                    in existence. However, Defendant removed one video from a personal Tai Chi site,

                                                   which was unrelated to the alleged incident. This video, which discussed the

                                                    "Theory of Everything," was taken down to protect Defendant's personal safety

                                                    and privacy. The removal of this video was motivated by concerns over personal

                                                    security and to avoid being easily identified by individuals who may pose a threat,
                                                                                                                                                                                                                        I



                                                    not due to any relevance to the matters at hand in this case.

                                     24. State in full and complete detail all steps taken by you (or on your behalf) to preserve all

                                            cell phone, video, social media, text, or other social digital media data from January 6,

                                            2021, to the present.

                                                    ANSWER: Defendant objects to this interrogatory to the extent that it is overly

                                                    broad and unduly burdensome. Without waiving the foregoing objections and

                                                    subject to them: To the best of Defendant's knowledge, all relevant cell phone,

                                                    ~deo, social media, text, and other digital media data related to the events of

                                                    January 6, 2021, have been preserved. Defendant has taken no action to delete or

                                                    destroy any relevant material, except for the removal of one unrelated video from

                                                    a personal Tai Chi site, as previously stated. This video, which did not pertain to

                                                    the alleged incident, was removed for personal safety and privacy reasons

                                                    follo~ing public allegations and threats, not as part of any effort to destroy or

                                                    conceal evidence. All other data remains intact, ~nd Defendant has no motive to

                                                    delete any material, as it is exculpatory in nature. ·--•


                                     25. If you contend that a person not party to this lawsuit acted in such a manner so as to cause

t - - - - - - - - -                          or contribute to Jeffrey Smith's injuries and/or his death, set forth the name and address of

                                             each such person and give a concise statement of facts upon which you rely.

  ·-· - - · -· . . - - - --   · · . - - . · - ---· --- - - - -- - -- -· -- - - -- - - - -- -- ·· -- - -   --- - - ··· ·-- -- - ·· ·· - ·· - ·-   -   ·- -· .. ·-· - --- - · ·-·----- -- ·- · .... .. . - --   -




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                                                                                    I
  ANSWER: Defendant objects to this interrogatory to the extent that it is overly

   broad, speculative, and not relevant to the specific claims and defenses raised by

  Defendant in this case. The defendant contends that Officer Jeffery Smith took

   his own life. Defendant contends he had no part in the death of Officer Smith.




                                                         -----      -------




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I SOLE:tvfNLY affirm under the penalties of perjury that the contents of the foregoing are true
and correct to the best of my knowledge, information and belief.
                                              - - - - - - - - - - - - - - - - - ··- - - - -- --




                                                     David Chadwick Walls-Kaufman



Respectfully submitted,

KE1\1ET HUNT LAW GROUP, INC.



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